                             Case 1:06-cr-00291-OWW Document 53 Filed 01/29/07 Page 1 of 3




                                   mniteb State$ Bietr
                        %+-'                                         DISTRICT O r




                    UNITED STATES OF AMERICA

                                                                                   ORDER SETTING CONDITIONS
                                                                                          OF RELEASE

                                                                               Case Number:

                                    Defendant


                  IT IS ORDERED that the relc:~seof l l ~ edefendnr~tis subjcct to the following conditions:

                    ( I ) The defendant shall not commit any offensc in violation o f federal, state or local law while on releztse in this
                           casc.

                    (2) The defendant shall imlliediately advise the court. defense counsel and the U.S. altorney in writing of any
                        change i n address and telephone number.




                                                                                             Date and fimc



            h(-30.07ivt / O : ~ O W + Wr L~
                                          Release on Personal Recognizance or Unsecured Bond
                  IT IS FURTHER ORDERED that the defendant bc released provided that:

           ( /)     (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                        imposed.

           (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                        dollan ($
                             in the event of a failure to appear as required or to surrender as directed for service o f any sentence imposed.




W H I T E COPY - C O U R T        YELLOW - DEFENDANT           B L U E . U S . ATTORNEY     PINK - U S . M A R S H A L   GREEN - PRETRIAL SERVICES
          1-30-07;      7:ZZAM;admln


   01-28-2007      1 4 3 8 CaseFROM-PRETRIAL
                                1:06-cr-00291-OWW
                                             SERVICES Document 53 Filed 01/29/07 Page 2 of 3

 HERRERA, Erika Flores
 Dkt. No. 06-0291 OWW                         ADDITIONAL CONDITIONS OF RELEASE

                 U p o n findinc t h n t release b y one o t t h e above mcfhods will n o t by itselfreasonablysssurcthc~ppearnnceoflhedefendant
 a n d t h e safely o r o t h e r persons a n d t h e community, it is FURTHER ORDERED t h a t the release o t t h e defendant is subject ro the
 c o n d i t i o n s m a r l t e d below:


 (X )      (6)       T h e defendant is placcd in the custody oT:

                     N a m e o f person o r o r g a n i m t i o n Westcnre C s l i f o r n l a



w h o agrecc (a) to supervise t h e defendant in accordance with a l l conditions o f release,
(b) t o use e v c r y c l l o r t t o assure the appearance o f t h c defendant a t a l l scheduled c o u n proceedings, a n d (c) t o n o r i w tho c o u r t
i m m c d i n t c l y in the cvent t b c d c f c a d a o t violatcs a n y       release o r disappenrs.


                     S I G N E D : 'W&U-LLIA/I-
                                                    -                         /
                                          ~ U S T O D I AOR
                                                         N PROXY
                     Thc dcfi:ndm shall:
                     (4         maintslr or scrively %el: enlploymcn4 and providc p r o o r ~ h c r c o r ~          !heo PSO,upon request.
                     (b)        you shnll be relensed from the Fresno County Jail on Jonuaw 30,2007, st I0:OO n.m., to Westcnrc Coliforals. for
                                trnnsporcntion dirccrlv to L n r proernm.
                                nbidc b y the lollowing restrictions on his pcrsonol nssociations, place o f abode, o r lrsvcl:
                                Regide nt and parlidpate in the reridcntlrl trestmcnr procrnm or directed b y proernm stnfl and Prerrinl Services;
                                rrnvci restricted to Fresno Caunhr. unlerr othemiaa annrovcd in sdvaacc bv ?SO,
                                avoid nll contncl w l l h tho Cnllowinp nnmed pcrsons, who are considered oltherallrecdvlctimsor ~ o t e o t i awilnerses:      l
                                Yvonne L o a n . M o r i n Resender, Jlmmy Jacob Rentcrin, nnd Dnnieln Euceda Mncias. onless in the presence of
                                counsel o r o t h e n v i s ~approved in odvnncc bv the PSO.
                                report on n regular bsrlr to the following npaey:
                                Prcrrlsl Sewices nnd c o m ~ l with        v     their r u l a And reeularions.
                               you shall report any prescri~tionrto d ~ PSO              c     within 48 hours or receipt.
                               you shnll subrnlt to d r ~ w           nnrllor nlcohol m t i n c ns directed by the PSO.
                                refrain from cxctsslvc uqc of alcohol. and any use or unlmwrul possoliion o l a narcotic druc mnd other controlled
                               subsrxncea defined i n 21 lJSC 6.402 unless prescribed bv r liccnrad m e d i a l p m c t i l i ~ n t r .
                               p d e r e o medical o r osychiatric lrcatrncnt andlor remnin in an institulion, as follows: Includine treatment for
                               c l r u ~ n l c o h nde~cndency.
                                                     f                 and onv for costs ns npprnvcd bv tlle PSO,
                               axeculed n bond or an agmrncnr m fnrfcit upon failing ro appear or failurc l o abidc by nny ofthe conditions of h l c ~ t .
                               thc following sum otmoney or dcsignarcd propcny;
                               pasf wirh lhc coun lhc following indicia or ownerrhip of thc above-described propclry, or thc rollowing amount or
                               percenrsgc of lhe abovcdcscribcd moncy:
                              cxccuu a bail bond wilh v l l v e ~ surctics   ~r      i n rhc amount o f %
                               return to custody cach (wcek)day ui of o'clock &cr bcing released ench (week)day as of o'clock for employmcnl,
                               schooling or rhc following limircd purposc(a):
                    ..         sumndcr any pnssnon to rhe Clerk. Uaircd Starcs District Courr.
          (j        (0)       obtain no pa&ioiduring h e pcndincy 0lth.s case.
          (x        (P)       yeport by telephonu to the Pretrial Srrvicrs Aecncy on the first workinc dnv followinr! vour rclcase from custody,
          (l        (4)       panicipaie inone ofthe following homc confincmcnl progrsmcomponen~and                             abidc by nll Ihereguirrmcntsofthc program
                              which() will or ( ) will not include electronic moniurring or oihcr locadon veriticarion wncm.
                              ( ) (i) Curfew. You we restricted 10 your rcsidcnce every dny ( ) bun1                                            10               .or
                                                ( ) as directed by rhe Pretrial Sewices ofIicc or supervising offlcer; or
                               ( ) (i;) t l i m e ~ r t e n t l o n IYou arc rcnnclcd to your residence ar all lirncs cxcept for crnploymcnl; cducotion;
                                                 rciieiour srrvices: or menrat healrh ircam~cnl,ollorncy visits; coun appcsrancci; coun+rdcrcd obligalions;
                                                 or i i h s r nctiviliesnr pre-approved by rhc P ~ r r i a~l c & i o e roltlce or NicrvisinE o f i c t r , or
                              ( ) (iii) l l o m c lncnrceration. You w msaicted to your rcsidcncc at ail Limes exceplfor mcdical needs or wmmen\
                                               religious servicc~and coun appcsronees pre-approved by rhc Prctrial Services ofice or supervision OfliCer.




[Copics lo: Mcndnnl. US Aaomcy, US Msrsllal, Prclrial Scwicc3)
                        Case 1:06-cr-00291-OWW Document 53 Filed 01/29/07 Page 3 of 3
A 0 19YC (Rev. 4/91)Advice of Pen;!llies...                                                                      Page    / of /
                                                                                                                              :           Pa~es

                                                       Advice of Penalties and Sanctions
TO THE DEFENDANT:

       YOU ARE ADVISED O F T H E FOLLOWING PENALTIES AND SANCTIONS:

     A violation of any ofthe foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
a revocation of release, a11order of detention. and a h rose cut ion for contempt of court and could result in a term of imnrisonment.
a fine, or both.
     The commission of any crirne whilc on pre-trial release may result in an addition~llsentence to a term of imprisonment of
not more than ten years. il the offense is a Uelony: or a term of imprisonment of no1 rnore than one year, if the offense is a
misdemeanor. This sentence shall be in addition to anv other sentence.
     Federal law makes it a crime punishable by up to five years of inlprisonment. and u $250.000 fine or both to intimidate or
attempt to intimidate a witness, victim, juror. informant or ofhcer of the court, or to obstruct a crirninal investigation. It is also
a crime punishable by up to ten years of imprisonment. a $250.000 line or both. to tamper with a witness, victim or informant,
or to retaliate against a witness, victim or informant. or to ihrealen or atfempt to do so.
     If after release, you knowingly fail to appear as required by the coliditions of release, or to surrender for the service of senfence,
you may be prosecuted for Pailing to appear or surrender and :~dditio~~al       punishment may be imposed. If you are convicted of:
     ( I ) an offelwe punishable by death, life imprisonment. ur imprisonment for a term of fifteen years or more, you shall be
           fined not more than $250,000 or imprisonetl for not more than ten years, or both;
     (2) an offense putiishahle by imprisonnient for o tern1 or live years or more, but less than fifteen years, you shall be fined
           not more than $250,000 or imprisoned for not more than five years or both:
     (3) any other felony, you shall be fined not more than $250.000 or imprisoned fur not Inore lhan two years, or both;
     (4) a misde~ncanor,you shall be fined not rnure than $100.000 or i~nprisonednot more than one year, or both.
     A term of imprisonment imposed for failul.e to appear or surrender shall be in addition lo the sentence for any other oflense.
In addition, a U21ilure lo appear may result in (he forfeiture o l any bond posted.

                                                       Acknowledgement of Defendant
    I acknowledge th;~t I am the defendmt in this case and that 1 an1 aware of the conditions o f release. I promise to obey all
conditions or rele:lse. to appear ;IS directed, and to surrender For service of any sentence imposed. I am aware of the penalties
and s;rnctions set forfh above.



                                                                                              ( Signature of Defendant ) /

                                                                                                            Address


                                                                                                                              Telephone




(
(
    J                                              Directions to United States Marshal
     ) The deUet~dentis ORDERED rele:lscd after processing.
     ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
          the defendant has posted bond and/or cornplied with all other conditions for release. The defendant shall be produced before
          the appropriate judicia                      place specified, if still in custody.
          Date:




                                                                                             Name and Title OF Judicial Officer




WHlTE COPY COURT                  YELLOW - DEFENDANT           BLUE. U S . A n O R N E Y   PINK U S . MARSHAL           GREEN - PRETRIALSERVICES
@.."~*"-.-*
